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                              BEFORE THE JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION

                        IN RE: SOCIAL MEDIA ADOLESCENT
                      ADDICTION/ PERSONAL INJURY PRODUCTS
                              LIABILITY LITIGATION

 IN RE: SOCIAL MEDIA ADOLESCENT
 ADDICTION/ PERSONAL INJURY                                                       MDL No. 3047
 PRODUCTS
 LIABILITY LITIGATION

 THIS DOCUMENT RELATES TO:

 Youngers, et al. v. Meta Platforms, Inc., et
 al.; No. 1:22-cv-00608

     NOTICE OF OPPOSITION TO CONDITIONAL TRANSFER ORDER (CTO-1)

       In compliance with Rule 7.1(c) of the Rules of Procedure of the United States Judicial
Panel on Multidistrict Litigation, Plaintiffs Joleen Youngers, as personal representative of the
wrongful death estate of L.K., a deceased minor child, Ar. K., and An. K., give notice of
opposition to Conditional Transfer Order (CTO – 1) as it relates to the following case:
Youngers, et al. v. Meta Platforms, Inc., et al.; No. 1:22-cv-00608

Dated: October 17, 2022                              Respectfully submitted,


                                                     /s/ Anthony K Bruster
                                                         Anthony K. Bruster
                                                     Texas Bar No. 24036280
                                                     680 N. Carroll Ave.
                                                     Suite 110
                                                     Southlake, TX
                                                     Phone: (817) 601-9564
                                                     Fax:    (817) 796-2929
                                                     Email: akbruster@brusterpllc.com

                                                     Attorney for Plaintiffs




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                                     PROOF OF SERVICE

        In compliance with Rule 4.1(a) of the Rules of Procedure of the United States Judicial
Panel on Multidistrict Litigation, I hereby certify that copies of the foregoing were served on all
parties electronically via ECF on October 17, 2022.

                                              Respectfully submitted,

                                              /s/ Anthony K Bruster
                                              Anthony K. Bruster




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